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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                           CASE NO. 3:94cr3012LAC


KIM BRADSHAW

Referred to Judge Lacey Collier on June 15, 2005
Motion/Pleadings: REQUEST FOR JOINER OF THE MOVANT’S CO-DEFENDANT’S
PENDING SUA SPONTE MOTION WITH RECONSIDERATION IN LIGHT OF UNITED
STATES V REESE, 382 F. 3d 1308. and THE DECISION OF BOOKER, 543 U.S._____2005,
pursuant to 18 U.S.C. 3582, and 3553(a) and Fed. R.Crim. P. 8(b)
Filed by DEFENDANT, PRO SE                 on 6/7/05             Doc.# 729
RESPONSES:
BY GOVT                                    on 6/15/05            Doc.# 730




                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ Mary Maloy-Wells
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy-Wells

                                            ORDER
Upon consideration of the foregoing, it is ORDERED this 16 th day of
June, 2005, that:
(a) The relief requested is DENIED.
(b) The defendant is not entitled to resentencing as this Court lacks
jurisdiction to consider this successive post-conviction motion and the Supreme
Court’s decision in United States v Booker does not apply retroactively to cases
on collateral review.


                                                             s /L.A. Collier
                                                            LACEY A. COLLIER
                                                      United States District Judge

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
